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                                 IN THE UNITED STATES DISTRICT COURT
11                               FOR THE NORTHERN MARIANA ISLANDS
12

                                                            Case No. 19-cv-0008
13      JOSHUA GRAY,
14
                                           Plaintiff,
                                                            NOTICE OF WRIT OF EXECUTION
15
                                 v.
16
        IMPERIAL PACIFIC INTERNATIONAL
17      (CNMI), LLC,

18                                        Defendant.
19

20
     TO: IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC
21          A Writ of Execution was issued against you. It was issued because there is an
22   outstanding judgment against you in the above-captioned case (ECF No. 226 (the “Judgment”)). It

23   may cause your property to be held or taken to pay the judgment. You may have legal rights to

24   prevent your property from being taken. A lawyer can advise you more specifically of these rights.
     If you wish to exercise your rights, you must act promptly.


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1           Exempt Property. The law provides that certain property cannot be taken. Such property is

2    said to be exempt. There may be exemptions that may be applicable to you.
            Under CNMI law, you must act promptly to claim any exemptions and you may tell the person
3
     levying execution what property you wish to keep. 7 CMC § 4204(a). If you fail to promptly select
4
     enough non-exempt property to satisfy the judgment, the person levying execution is authorized to
5
     select property until enough has been taken to satisfy the amount of the execution. 7 CMC § 4204(a).
6
     The person levying execution will first take property specifically attached in the action in which the
7
     execution was issued before taking other non-exempt property. 7 CMC § 4204(a).
8
            If you have an exemption, you should demand a prompt hearing from the Court. You should
9    come to court ready to explain your exemption. If you do not come to court and prove your
10   exemption, you may lose some of your property.
11          You may have other rights. If you are uncertain as to your exemption rights, you should consult

12   a lawyer for advice.

13
            Property Belonging to Another Person. If you are in possession or control of personal
     property that belongs to another person/entity or that you own with another person/entity, you should
14
     notify that person/entity so that he/she/it can file a property claim or other legal papers with the Court
15
     to prevent the property from being taken or sold at a United States Marshal’s sale to satisfy your debt.
16

17
            Issued this ___ day of July, 2023.
18

19
                                                    BY: _____________________
20
                                                    HEATHER KENNEDY
                                                    Clerk, United States District Court
21
                                                    for the Northern Mariana Islands
22

23

24




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